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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,              )       2:07-CR-00248-26 WBS
11                                          )
                               Plaintiff,   )
12                                          )       UNOPPOSED REQUEST TO MODIFY
     v.                                     )       BRIEFING SCHEDULE; [PROPOSED]
13                                          )       ORDER
                                            )
14   GABRIEL CARACHEO,                      )
                                            )
15                           Defendant.     )
     __________________________________     )
16
           Pursuant to Local Rule 144, undersigned counsel, Erin J. Radekin,
17
     respectfully requests the briefing schedule relating to defendant’s possible
18
     motion to reduce sentence pursuant to 18 U.S.C. § 3582(c)(2) be modified to
19
     reflect the following deadlines:
20
           Motion to reduce sentence                       March 24, 2016
21
           Government’s opposition                         April 14, 2016
22
           Defendant’s reply, if any                       April 21, 2016
23
           The reasons for this request is to afford the defense additional time
24
     to obtain all relevant records and await the decision of the Ninth Circuit in
25
     the case United States v. Davis, 776 F.3d 1088 (9th Cir. 2015).
26
           Mr. Caracheo filed his motion to appoint counsel re: possible motion to
27
     reduce sentence on January 25, 2016.       CR 1376.   Undersigned counsel was
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                         UNOPPOSED REQUEST TO MODIFY BRIEFING SCHEDULE - 1
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 1   appointed on January 28, 2016.   CR 1378. Undersigned counsel has ordered, but

 2   does not yet have, all relevant records in this case.

 3         Further, Mr. Caracheo entered his guilty plea pursuant to Federal Rule

 4   of Criminal Procedure 11(c)(1)(C).     CR 826.    As this Court is aware, under

 5   the current state of the law, an 11(c)(1)(C) binding plea agreement must make

 6   clear the particular Guideline range on which the defendant’s sentence was

 7   based in order for the defendant to be eligible for a reduction under 18

 8   U.S.C. § 3582(c)(2). United States v. Austin, 676 F.3d 924, 928 (9th Cir.

 9   2012); Davis, supra, 776 F.3d at p. 1090.        However, the Ninth Circuit granted

10   en banc review of Davis on August 6, 2015, but has not yet issued a ruling.

11   If the Ninth Circuit fashions a new and different rule regarding when an

12   11(c)(1)(C) plea agreement bars reduction under § 3582(c)(2) in Davis, this

13   could make a difference in this Court’s determination of whether such

14   reduction is warranted in this case.     Hence, the parties respectfully submit

15   that this Court should await the resolution of the petition for en banc

16   review in Davis to ascertain the law to be applied in Mr. Caracheo’s case.

17         Assistant United States Attorney Jason Hitt has indicated he has no

18   objection to the proposed modification.

19         Hence, the parties respectfully stipulate and request that this

20   Court modify the briefing schedule as set forth above.

21   Dated: February 24, 2016                     Respectfully submitted,

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23                                                 /s/ Erin J. Radekin
                                                  ERIN J. RADEKIN
24                                                Attorney for Defendant
                                                  GABRIEL CARACHEO
25   / /

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                      UNOPPOSED REQUEST TO MODIFY BRIEFING SCHEDULE - 2
              Case 2:07-cr-00248-WBS Document 1385 Filed 02/24/16 Page 3 of 3


 1                                          ORDER

 2            Pursuant to the unopposed request, and good cause appearing therefor,

 3   it is hereby ordered that the briefing schedule relating to defendant’s

 4   possible motion to reduce sentence pursuant to § 3582(c)(2) be revised to

 5   reflect the following deadlines:

 6            Motion to reduce sentence                 March 24, 2016

 7            Government’s opposition                   April 14, 2016

 8            Defendant’s reply, if any                 April 21, 2016

 9   Dated:     February 24, 2016

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                         UNOPPOSED REQUEST TO MODIFY BRIEFING SCHEDULE - 3
